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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                      Exhibit A
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                                                                        Page 1

 1                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
 2                         COLUMBIA DIVISION
 3
 4
 5         THE SOUTH CAROLINA STATE CONFERENCE OF THE NAACP,
           et al.,
 6
                          Plaintiffs,
 7
                    vs.      CASE NO.:       3:21-CV-03302-MGL-TJH-RMG
 8
           THOMAS C. ALEXANDER, et al.,
 9
                          Defendants.
10
11
12         DEPOSITION OF:      SENATOR LUKE A. RANKIN
                               (APPEARING VIA VIRTUAL ZOOM)
13
           DATE:               August 2, 2022
14
           TIME:               10:52 AM
15
           LOCATION OF
16         THE DEPONENT:       Rankin & Rankin Law Firm
                               201 Beaty Street
17                             Conway, SC
18         TAKEN BY:           Counsel for the Plaintiffs
19         REPORTED BY:        TERRI L. BRUSSEAU
                               (APPEARING VIA VIRTUAL ZOOM)
20
21
22
23
24
25

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 1                   A.   Yes, in a bad faith case.               Insurance
 2         bad faith case.
 3                   Q.   Um-hum.      Was that in your personal
 4         capacity?
 5                   A.   Legal.
 6                   Q.   Oh, you were a lawyer representing a
 7         party, but then you were also deposed in that case?
 8                   A.   Correct.
 9                   Q.   I see.      You've never been deposed in
10         your professional capacity as a member of the South
11         Carolina Senate?
12                   A.   No.
13                   Q.   Or in your personal capacity as Luke
14         Rankin?
15                   A.   No.
16                   Q.   Okay.     I'm just going to take a pause
17         here, Senator Rankin.          I see that I asked you about
18         whether anything was up on your laptop, but now I
19         can see that you're also looking at what might be a
20         desktop or another computer, is that right?
21                   A.   Yes.
22                   Q.   So let me just ask, are there materials
23         about this case up on your -- the computer that
24         you're looking at that's not your laptop?
25                   A.   No.

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 1                   Q.   Okay.     Thanks.        Outside of depositions,
 2         have you ever been a party to any other lawsuit
 3         whether in your professional or personal capacity?
 4                   A.   In my dissolution of my first marriage,
 5         that was the only time I was a litigant as best I
 6         recall.
 7                   Q.   And you were a defendant there?
 8                   A.   No, plaintiff.
 9                   Q.   And have you ever been sued in your
10         professional capacity as a member of the South
11         Carolina Senate other than in this case?
12                   A.   No.     Well, perhaps.             There may have
13         been litigation with a gubernatorial appointment --
14         appointment power, so I don't think anything in the
15         realm of redistricting, certainly not COVID-related
16         litigation, but I don't recall any specific other
17         instances of that.
18                   Q.   What was the COVID litigation you're
19         talking about?
20                   A.   Well, it could have been in terms of
21         our authority to do certain things.                   Again, these
22         were litigated cases that the -- one school
23         district or perhaps Bass mandate litigation that
24         the state was a party, President Peeler was at that
25         time.     Again, in caption only would have been my

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 1         involvement.        I've never participated in any
 2         litigation in my official capacity otherwise.
 3                   Q.      Okay.     Were you in caption only sued as
 4         a defendant in any other case?
 5                   A.      Not that I'm aware of, no.
 6                   Q.      Have you ever testified in court,
 7         again, whether as to your personal capacity or
 8         professional capacity?
 9                   A.      I have testified in a case involving
10         someone's competency either on a Will or a deed,
11         and that's been 20 plus years ago; otherwise, I
12         don't think I've ever testified in court.
13                   Q.      In that case you weren't deposed
14         earlier and then testified, you just testified?
15                   A.      No.     Yeah.
16                   Q.      Okay.     All right.          Let's talk a little
17         bit about your background before we get to the case
18         itself.        Where were you born, sir?
19                   A.      Conway.
20                   Q.      Is that in South Carolina?
21                   A.      Yes.
22                   Q.      And where did you grow up?
23                   A.      Conway, South Carolina.
24                   Q.      And you said you currently live in
25         Conway, South Carolina as well, is that right?

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 1                  A.   No, live about 14 miles east in Myrtle
 2         Beach.
 3                  Q.   Okay.      How long have you lived in
 4         Myrtle Beach?
 5                  A.   Since '88.
 6                  Q.   Have you ever lived outside of South
 7         Carolina?
 8                  A.   No.
 9                  Q.   Let's walk through your educational
10         background.      Where did you go to college?
11                  A.   University of South Carolina, '84
12         undergrad, and then law school '87.
13                  Q.   What did you study in undergrad?
14                  A.   Political science and history.
15                  Q.   And then you said you graduated from
16         USC Law in '87?
17                  A.   Correct.
18                  Q.   Did you specialize in anything at the
19         law school?
20                  A.   At the law school?
21                  Q.   Um-hum.
22                  A.   Graduation.
23                  Q.   I hear you.          And did you take a job
24         right out of law school?
25                  A.   I did.

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 1                   Q.      What was that job?
 2                   A.      I worked with a firm here in Horry
 3         County.
 4                   Q.      What kind of work did you do?
 5                   A.      Litigation.
 6                   Q.      General litigation, any specialty area?
 7                   A.      Civil litigation injury, death and
 8         general -- some general practice, but mostly in the
 9         injury law capacity on behalf of injured parties
10         and/or survivors of wrongful death cases.
11                   Q.      Okay.     Do you mind walking me through
12         each of your jobs after that until you got to the
13         South Carolina Senate?
14                   A.      Well, all in Conway.               There was a firm
15         that I started with that the nucleus of it
16         remained.        It was Hearn & Corbett when I first got
17         out.     We merged with a larger firm, Van Osdol
18         Stewart, et cetera.            There were a number of -- lots
19         of lawyers there.           Then we effectively demerged and
20         it became a smaller firm called Hearn, Brittain &
21         Martin.        And then in '91, I joined my father's
22         firm, and it's been Rankin & Rankin ever since.
23                   Q.      What kind of work have you done at
24         Rankin & Rankin generally?
25                   A.      The same type work, civil litigation,

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 1         meet with him?
 2                  A.    Actual meetings, I -- I can't even
 3         guesstimate.     Conversations from again July
 4         forward, countless.         Countless.
 5                  Q.    Okay.     What kind of questions did you
 6         ask him?
 7                  A.    Almost like Ed Koch, the former mayor
 8         of New York City, how am I doing, how are we doing,
 9         and effectively trying to move again the process to
10         the finish line, so...
11                  Q.    Did you ever ask him if a proposed map
12         violated the law?
13                  A.    Don't recall, but surely he testified
14         and/or opined to our committee, our subcommittee,
15         but specifically, I mean, I don't recall that
16         direct question and a direct answer.
17                  Q.    So you --
18                  A.    But I would have to say that he would
19         have endorsed these.
20                  Q.    I know that he testified in the open
21         committee hearing that he believed that maps
22         were -- did not violate the law, but you never
23         asked him before he did that whether they did and
24         how they passed legal muster, you never had that
25         conversation with him?

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 1         so to speak, the Ross Perot line.               I never felt the
 2         need to do that.
 3                  Q.   How did you comfort yourself that
 4         whatever they produced did, in fact, comply with
 5         the law, despite your faith in them?
 6                  A.   Say that first part again.              Had I --
 7                  Q.   How did you -- did you ever for
 8         yourself confirm that the maps that they were
 9         producing complied with the law and the guidelines?
10                  A.   Well, again, in deference to counsel,
11         Charlie Terreni and perhaps John Gore, again, the
12         collective opinion was that it would.                Now, I guess
13         you're going to attest that and we'll see what the
14         courts say in response to your claim.                But for our
15         purposes, all eyes wide open, we believed that it
16         did comply with the law.
17                  Q.   And that's based on what you heard from
18         Mr. Terreni and Mr. Gore?
19                  A.   Again, based on the work that we
20         started in July, based on the principles that we
21         adopted, based on the input from subcommittee
22         members, again, votes taken, considerations made
23         throughout this entire process with legal opinions
24         being offered at effectively every turn for the
25         staff and the subcommittee.

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  1         process, but I said part of the mix of things that
  2         give you comfort, that gave you comfort, were they
  3         legal opinions from John Gore and Charlie Terreni?
  4                  A.   Correct.
  5                  Q.   Thank you.      We've talked about the
  6         guidelines of it.      Let's look at them.           I'm going
  7         to put them up on the screen.             It might take a
  8         second because this is the first exhibit that we're
  9         looking at and sometimes it's a little glitchy, so
 10         bear with me.
 11                       MR. GORE:     Somil, if you're moving to a
 12         new topic, I'd like to ask the court reporter
 13         whether she needs a short break.
 14                       MR. TRIVEDI:       I can deal with a
 15         five-minute break, actually.
 16                       COURT REPORTER:         I would love a
 17         five-minute break.
 18                       THE WITNESS:       Let me ask you this:           I
 19         need to be finished by five o'clock.
 20                       MR. TRIVEDI:       Can we go off the record,
 21         Miss Terri?
 22                       COURT REPORTER:         We're off.
 23                       (Off the record.)
 24                       (A recess transpired.)
 25         BY MR. TRIVEDI:

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  1                  Q.   Do you have an understanding that part
  2         of what must be considered is a racially polarized
  3         voting analysis?
  4                  A.   I really don't.
  5                  Q.   Did counsel, including Mr. Gore and
  6         Mr. Terreni, ever say we have to conduct a
  7         racially polarized voting analysis?
  8                       MR. GORE:      I'm going to object on
  9         attorney/client privilege and instruct the witness
 10         not to answer.
 11         BY MR. TRIVEDI:
 12                  Q.   During the mapmaking process prior to
 13         litigation, did any attorney tell you you have to
 14         conduct a racially polarized voting analysis?
 15                       MR. GORE:      Again I'm going to object on
 16         attorney/client privilege and instruct the witness
 17         not to answer.
 18         BY MR. TRIVEDI:
 19                  Q.   Did anyone acting in a nonlegal
 20         capacity ever tell you you need to conduct a
 21         racially polarized voting analysis?
 22                  A.   I don't recall.
 23                  Q.   As to the two questions that Mr. Gore
 24         just instructed you not to answer, are you not
 25         answering those questions because of that

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